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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
                            W ESTERN DIVISION



   JASON EDWIN DEVORE,                    Case No. CV 18-08894-JAK (DFM)

           Petitioner,                    JUDGMENT

               v.

   THE PEOPLE OF THE STATE OF
   CALIFORNIA,

           Respondent.



        Pursuant to the Court’s Order Accepting the Report and
  Recommendation of United States Magistrate Judge,
        IT IS ADJUDGED that the Petition is denied, and this action dismissed
  with prejudice.


   Date: October 21, 2020                  ___________________________
                                           JOHN A. KRONSTADT
                                           United States District Judge
